Case 2:17-cv-07639-PSG-KS Document 747 Filed 06/12/20 Page 1 of 3 Page ID #:35881




    1 JEFFREY I. WEINBERGER (State Bar No. 56214)
      jeffrey.weinberger@mto.com
    2 TED DANE (State Bar No. 143195)
      ted.dane@mto.com
    3 GARTH T. VINCENT (State Bar No. 146574)
      garth.vincent@mto.com
    4 BLANCA F. YOUNG (State Bar No. 217533)
      blanca.young@mto.com                                          6/12/2020
    5 PETER E. GRATZINGER (State Bar No. 228764)
      peter.gratzinger@mto.com
    6 ADAM R. LAWTON (State Bar No. 252546)
      adam.lawton@mto.com
    7 MUNGER, TOLLES & OLSON LLP
      350 South Grand Avenue, Fiftieth Floor
    8 Los Angeles, California 90071-3426
      Telephone: (213) 683-9100
    9 Facsimile: (213) 687-3702
   10 W. CHAD SHEAR (State Bar No. 230602)
      shear@fr.com
   11 GEOFFREY D. BIEGLER (State Bar No. 290040)
      biegler@fr.com
   12 MEGAN A. CHACON (State Bar No. 304912)
      chacon@fr.com
   13 FISH & RICHARDSON P.C.
      12390 El Camino Real
   14 San Diego, CA 92130
      Telephone: (858) 678-5070
   15 Facsimile: (858) 678-5099
   16 Attorneys for Defendant-Counterclaimant
      KITE PHARMA, INC.
   17
                            UNITED STATES DISTRICT COURT
   18
              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   19
      JUNO THERAPEUTICS, INC.,                Case No. 2:17-cv-7639-PSG-KS
   20 SLOAN KETTERING INSTITUTE
      FOR CANCER RESEARCH,                    [PROPOSED] ORDER
   21                                         REGARDING SUPERSEDEAS
                  Plaintiffs,                 BOND AND STAY OF EXECUTION
   22                                         ON JUDGMENT
            vs.
   23
      KITE PHARMA, INC.,
   24
                  Defendant.
   25
   26 AND RELATED COUNTERCLAIMS
   27
   28
        44847683.2
                     ORDER REGARDING SUPERSEDEAS BOND AND STAY OF EXECUTION ON JUDGMENT
Case 2:17-cv-07639-PSG-KS Document 747 Filed 06/12/20 Page 2 of 3 Page ID #:35882




    1        Upon consideration of the parties’ Joint Stipulation Regarding Supersedeas
    2 Bond and Stay of Execution on Judgment, IT IS HEREBY ORDERED as follows:
    3        1.      Kite shall not be required at this time to provide a supersedeas bond or
    4 other security as a condition of staying execution on the Final Judgment or
    5 proceedings to enforce it pending appeal.
    6        2.      If both Plaintiffs contend that changed circumstances require additional
    7 security for the Final Judgment, Plaintiffs shall provide written notice to Kite
    8 describing the changed circumstances. Within forty-five (45) days of receiving such
    9 notice, Kite shall take one of the following actions unless the U.S. Court of Appeals
   10 for the Federal Circuit earlier enters judgment vacating or reversing the Final
   11 Judgment:
   12                (i)     obtain a supersedeas bond pursuant to Federal Rule of Civil
   13 Procedure 62(b) in an amount that is not less than the minimum specified in
   14 Paragraph 3;
   15                (ii)    obtain a letter of credit in an amount that is not less than the
   16 minimum specified in Paragraph 3, designating Plaintiffs as the beneficiaries;
   17                (iii)   establish an escrow account for the benefit of Plaintiffs in an
   18 amount that is not less than the minimum specified in Paragraph 3; or
   19                (iv)    pay to Plaintiffs an amount sufficient to satisfy the Final
   20 Judgment pursuant to ECF No. 728, taxable costs pursuant to ECF No. 737, and
   21 accrued interest on those amounts; and amounts accrued pursuant to the order
   22 regarding ongoing royalties dated April 28, 2020 (ECF No. 738), including interest
   23 accrued thereon; and thereafter make continuing payments pursuant to such order,
   24 provided that all such payments made pursuant to this section (iv) shall be
   25 recoverable by Kite with interest at the post-judgment interest rate of 0.15% if the
   26 Final Judgment is reversed or vacated on appeal.
   27        3.      The minimum for purposes of Paragraph 2 is one billion eight hundred
   28 million dollars ($1,800,000,000) at the time of entry of this order. If the U.S. Court

                                                    -1-
               ORDER REGARDING SUPERSEDEAS BOND AND STAY OF EXECUTION ON JUDGMENT
Case 2:17-cv-07639-PSG-KS Document 747 Filed 06/12/20 Page 3 of 3 Page ID #:35883




    1 of Appeals for the Federal Circuit has not issued its mandate by December 31, 2021,
    2 the minimum shall increase by thirty million dollars ($30,000,000) on the first day
    3 of each month beginning on January 1, 2022, until the U.S. Court of Appeals for the
    4 Federal Circuit issues its mandate or Kite no longer owes ongoing royalties subject
    5 to ECF No. 738 due to expiration of the ’190 patent, whichever is earlier.
    6        4.     Nothing in this order prejudices Plaintiffs’ right to request that the
    7 Court later require Kite to increase the amount of security over the amounts
    8 specified in Paragraph 3 in light of subsequent developments.
    9        5.     Kite shall not assign or otherwise transfer any of its obligations
   10 hereunder without Plaintiffs’ consent.
   11        6.     So long as Kite complies with all of its obligations herein, no Plaintiff
   12 will make any attempt or effort to execute on or enforce the Final Judgment—or
   13 payment of any ongoing royalties, costs, or interest that has accrued or continues to
   14 accrue thereon—before 14 days after issuance of mandate from the U.S. Court of
   15 Appeals for the Federal Circuit.
   16
   17        IT IS SO ORDERED.
   18
   19
   20
   21 DATED: 6/12/2020
                                                 Hon. Philip S. Gutierrez
   22
                                                 United States District Judge
   23
   24
   25
   26
   27
   28

                                                  -2-
              ORDER REGARDING SUPERSEDEAS BOND AND STAY OF EXECUTION ON JUDGMENT
